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                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON
CONSTANCE GEORGE,                                   Case No. 3:15-cv-01277-SB

                       Plaintiff,

           v.                                       PLAINTIFF’S REQUESTED VOIR DIRE
                                                    QUESTIONS
HOUSE OF HOPE RECOVERY;
BRIDGES TO CHANGE, INC.;
WASHINGTON COUNTY
DEPARTMENT OF HOUSING
SERVICES, and PATRICIA BARCROFT,

                       Defendants.



                   Plaintiff, Constance George, requests 15 minutes for attorney-conducted voir dire

and also requests that the Court consider the following questions for general voir dire:




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    1. Does anyone feel that it is wrong to bring a lawsuit over being treated differently from

           someone else?

    2. You are being asked to do your civic duty and act as citizen judges. Both sides are here

           because they were unable to resolve the case without you. Is there anyone here that is

           going to hold that against either side?

    3. Does anyone have experience as a landlord?

    4. Has anyone been homeless?

    5. Does anyone have family or close friends who live or have lived at a halfway house or

           other sort of recovery facility?

    6. Does anyone have family or close friends who work for religious institutions?

    7. Does anyone have family or close friends who are a current or former employee of, or a

           resident of, House of Hope?

    8. Does anyone worship, or have family or close friends who worship, at Living Hope

           Fellowship?

    9. Have you or a family member or close friend ever been a plaintiff or a defendant in a

           lawsuit?

    10. Has anyone ever been evicted from their residence or have family or close friends who

           have been evicted?

    11. Have you or a family member or close friend had experience with discrimination

           claims—either being discriminated against or being accused of discrimination?

    12. Have you or a family member ever felt that you were retaliated against for complaining

           about something that you felt that you had a legitimate right to complain about?




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    13. Does anyone have an issue with the way that civil rights laws are used or enforced?

    14. After Ms. George has proved that defendants are liable, you will be asked to assess

           damages. Damages may include what is called economic damages (tangible damages),

           noneconomic damages (intangible damages) and punitive damages. You will be asked to

           determine the amount without mathematical guidance, based on testimony that does not

           include any calculations. Does anyone feel that they would be unable to listen fairly to

           the evidence on either type of damages and decide on an amount?




                   DATED: February 28, 2018.

                                                  MILLER NASH GRAHAM & DUNN LLP



                                                  s/ Elisa J. Dozono
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                                 CERTIFICATE OF SERVICE

                I hereby certify that I served the foregoing on:

                Ms. Rebecca Cambreleng
                Cambreleng Law, LLC
                806 S.W. Broadway, Suite 1200
                Portland, Oregon 97205

                Attorney for Defendants House of
                Hope Recovery and Patricia
                Barcroft

by the following indicated method or methods on the date set forth below:


              CM/ECF system transmission.

              E-mail. (Courtesy copy.)

               E-mail. As required by Local Rule 5-11, any interrogatories, requests for
                production, or requests for admission were e-mailed in Word or WordPerfect
                format, not in PDF, unless otherwise agreed to by the parties.

              First-class mail, postage prepaid.

              Hand-delivery.

              Overnight courier, delivery prepaid.

               DATED: February 28, 2018.



                                                              s/ Elisa J. Dozono
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                                                              Of Attorneys for Plaintiff




Page 1 -     Certificate of Service
                                  MILLER NASH GRAHAM & DUNN LLP
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